           Case 1:21-mj-02533-JMC Document 7 Filed 09/10/21 Page 1 of 1
                                                                 ____ FILED                            ___ ENTERED
                                                                                            ____ LOGGED _____ RECEIVED
                              UNITED STATES DISTRICT COURT                                 12:18 pm, Sep 10 2021
                              FOR THE DISTRICT OF MARYLAND                                  AT BALTIMORE
                                                                                            CLERK, U.S. DISTRICT COURT
                                                                                            DISTRICT OF MARYLAND
                                                                                            BY ______________Deputy
 UNITED STATES OF AMERICA

                   v.                                        CASE NO: 1:21-mj-02533-JMC

 JONATHAN GRAY NEWELL



                                      ORDER FOR DISMISSAL

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court

endorsed hereon, the defendant having passed away on September 10, 2021, the Acting United

States Attorney for the District of Maryland hereby dismisses with prejudice the Complaint and

Arrest Warrant pending in the above-captioned case.

                                                           Respectfully submitted,

                                                           Jonathan F. Lenzner
                                                           Acting United States Attorney


                                                       By: ___________________________
                                                          Paul E. Budlow
                                                          Assistant United States Attorney




Leave of Court is granted for the filing of the foregoing dismissal.
9/10/21
______________                    ______________________________
Date                              J. MARK COULSON
                                  UNITED STATES MAGISTRATE JUDGE
--------------------------------
Advice to U.S. Marshal: _x_ 1. Defendant is not in custody.
        (check one)     ___ 2. Defendant is in custody and
                               the USAO believes that:
                               ___ a. there is no reason to hold defendant further.
                               ___ b. the defendant should be held in Federal custody. (explain below)
                               ___ c. the defendant should be transferred to State custody. (explain below)
Explanation:___________________________________________________________________
_____________________________________________________________________________
